 Case 16-11695-ABA                         Doc 47 Filed 04/09/21 Entered 04/10/21 00:24:30                           Desc Imaged
                                                Certificate of Notice Page 1 of 5

Information to identify the case:
Debtor 1
                        Michael S. Romanik Sr.                                     Social Security number or ITIN   xxx−xx−9915
                                                                                   EIN _ _−_ _ _ _ _ _ _
                        First Name   Middle Name   Last Name

Debtor 2                Mary Jo Taylor−Romanik                                     Social Security number or ITIN   xxx−xx−0733
(Spouse, if filing)
                                                                                   EIN _ _−_ _ _ _ _ _ _
                        First Name   Middle Name   Last Name

United States Bankruptcy Court        District of New Jersey

Case number:          16−11695−ABA

Order of Discharge                                                                                                                12/18


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Michael S. Romanik Sr.                                      Mary Jo Taylor−Romanik


               4/7/21                                                       By the court: Andrew B. Altenburg Jr.
                                                                                          United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                              Most debts are discharged
                                                                            Most debts are covered by the discharge, but
Creditors cannot collect discharged debts                                   not all. Generally, a discharge removes the
                                                                            debtors' personal liability for debts provided for
This order means that no one may make any                                   by the chapter 13 plan.
attempt to collect a discharged debt from the
debtors personally. For example, creditors cannot                           In a case involving community property: Special
sue, garnish wages, assert a deficiency, or                                 rules protect certain community property owned
otherwise try to collect from the debtors personally                        by the debtor's spouse, even if that spouse did
on discharged debts. Creditors cannot contact the                           not file a bankruptcy case.
debtors by mail, phone, or otherwise in any
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                               Some debts are not discharged
debtors damages and attorney's fees.                                        Examples of debts that are not discharged are:
However, a creditor with a lien may enforce a
claim against the debtors' property subject to that                              ♦ debts that are domestic support
lien unless the lien was avoided or eliminated. For                                obligations;
example, a creditor may have the right to foreclose
a home mortgage or repossess an automobile.
                                                                                 ♦ debts for most student loans;
This order does not prevent debtors from paying
any debt voluntarily. 11 U.S.C. § 524(f).
                                                                                 ♦ debts for certain types of taxes specified
                                                                                   in 11 U.S.C. §§ 507(a)(8)( C),
                                                                                   523(a)(1)(B), or 523(a)(1)(C) to the
                                                                                   extent not paid in full under the plan;




                                                                                       For more information, see page 2>


Form 3180W                                                     Chapter 13 Discharge                                  page 1
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    ♦ debts that the bankruptcy court has                  ♦ debts for restitution, or damages,
      decided or will decide are not discharged              awarded in a civil action against the
      in this bankruptcy case;                               debtor as a result of malicious or willful
                                                             injury by the debtor that caused
                                                             personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,             death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                           ♦ debts for death or personal injury
                                                             caused by operating a vehicle while
    ♦ some debts which the debtors did not                   intoxicated.
      properly list;

                                                      In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §            creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment        is also liable on the debt, such as an insurance
      or other transfer is due after the date on      company or a person who cosigned or
      which the final payment under the plan          guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases             This information is only a general
      made after the bankruptcy case was filed if      summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of        exceptions exist. Because the law is
      incurring the debt was practicable but was       complicated, you should consult an
      not obtained;                                    attorney to determine the exact effect of
                                                       the discharge in this case.




Form 3180W                               Chapter 13 Discharge                         page 2
      Case 16-11695-ABA                      Doc 47 Filed 04/09/21 Entered 04/10/21 00:24:30                                             Desc Imaged
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 16-11695-ABA
Michael S. Romanik, Sr.                                                                                                Chapter 13
Mary Jo Taylor-Romanik
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Apr 07, 2021                                               Form ID: 3180W                                                            Total Noticed: 46
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 09, 2021:
Recip ID                Recipient Name and Address
db/jdb                + Michael S. Romanik, Sr., Mary Jo Taylor-Romanik, 438 Manor Ave., Millville, NJ 08332-1724
cr                    + Members 1st of NJ Federal Credit Union, McKenna, DuPont, Higgins & Stone, PO Box 610, 229 Broad Street, Red Bank, NJ 07701-2009
515972874             + Attorney General, United States Department of Justice, Ben Franklin Station, P.O. Box 683, Washington, District of Columbia 20044-0683
515972880               CBNA/Sears Credit Cards, POB 6282, Sioux Falls, South Dakota 57117-6282
515972885               First Financial Bank Omaha, POB 2557, Omaha, NE 68103-2557
515972890               New Jersey Attorney General Office, Division of Law, Richard J. Hughes Justice Complex, 25 Market Street, P.O. Box 112, Trenton, New
                        Jersey 08625-0112
516005408            ++ PERI GARITE, ATTN CARD WORKS, 101 CROSSWAYS PARK DR W, WOODBURY NY 11797-2020 address filed with court:, First
                        National Bank of Omaha, 1620 Dodge Street, Stop code 3105, Omaha, NE 68197
516223658            ++ STATE OF NEW JERSEY, DIVISION OF TAXATION BANKRUPTCY UNIT, PO BOX 245, TRENTON NJ 08646-0245 address filed
                        with court:, State Of New Jersey, Division Of Taxation, Bankruptcy Section, PO Box 245, Trenton, NJ 08695-0245
515972891               Select Portfolio Servicing, Inc., POB 65250, Salt Lake City, Utah 84165-0250
515972895             + Thunderbolt Area FCU, 1601 Cedar St., Millville, New Jersey 08332-9403
516198027               U.S. Bank National Association, c/o Select Portfolio Servicing, Inc., P.O. Box 65250, Salt Lake City, UT 84165-0250

TOTAL: 11

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Apr 07 2021 21:19:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Apr 07 2021 21:19:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
515972873                 EDI: AMEREXPR.COM
                                                                                        Apr 08 2021 00:38:00      American Express, POB 981535, El Paso, Texas
                                                                                                                  79998-1535
516042183                 EDI: BECKLEE.COM
                                                                                        Apr 08 2021 00:38:00      American Express Centurion Bank, c o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern, PA 19355-0701
516126404                 EDI: BL-BECKET.COM
                                                                                        Apr 08 2021 00:38:00      CAPITAL ONE, N.A., C/O BECKET AND LEE
                                                                                                                  LLP, PO BOX 3001, MALVERN, PA 19355-0701
515972875                 Email/Text: cms-bk@cms-collect.com
                                                                                        Apr 07 2021 21:19:00      Capital Management Services, 698 1/2 South
                                                                                                                  Ogden Street, Buffalo, New York 14206-2317
515972876                 EDI: CAPITALONE.COM
                                                                                        Apr 08 2021 00:38:00      Capital One Bank, POB 30285, Salt Lake City,
                                                                                                                  Utah 84130-0285
516056133                 EDI: CAPITALONE.COM
                                                                                        Apr 08 2021 00:38:00      Capital One Bank (USA), N.A., PO Box 71083,
                                                                                                                  Charlotte, NC 28272-1083
515972878                 EDI: CAPITALONE.COM
                                                                                        Apr 08 2021 00:38:00      Capital One Retail Services, POB 30257, Salt
                                                                                                                  Lake City , Utah 84130-0257
515972879              + EDI: CAPITALONE.COM
                                                                                        Apr 08 2021 00:38:00      Capital One/Boscov's, POB 30257, Salt Lake City,
                                                                                                                  Utah 84130-0257
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District/off: 0312-1                                       User: admin                                                      Page 2 of 3
Date Rcvd: Apr 07, 2021                                    Form ID: 3180W                                                 Total Noticed: 46
516167245        + EDI: BASSASSOC.COM
                                                                       Apr 08 2021 00:38:00   Cavalry SPV I, LLC, c/o Bass & Associates, P.C.,
                                                                                              3936 E. Ft. Lowell Rd., Suite 200, Tucson, AZ
                                                                                              85712-1083
515972882        + EDI: CITICORP.COM
                                                                       Apr 08 2021 00:38:00   Citibank/ExxonMobil, POB 6404, Sioux Falls,
                                                                                              South Dakota 57117-6404
515972883          EDI: CITICORP.COM
                                                                       Apr 08 2021 00:38:00   Citibank/Goodyear, POB 6403, Sioux Falls, SD
                                                                                              57117-6403
516167446        + EDI: WFNNB.COM
                                                                       Apr 08 2021 00:38:00   Comenity Capital Bank, C O WEINSTEIN &
                                                                                              RILEY, PS, 2001 WESTERN AVENUE, STE
                                                                                              400, SEATTLE, WA 98121-3132
515984895          Email/PDF: resurgentbknotifications@resurgent.com
                                                                       Apr 07 2021 21:11:12   Dell Financial Services LLC, c/o Resurgent
                                                                                              Capital Services, PO Box 10390, Greenville, SC
                                                                                              29603-0390
515972884          EDI: DISCOVER.COM
                                                                       Apr 08 2021 00:38:00   Discover, POB 30943, Salt Lake City, UT 84130
515990884          EDI: DISCOVER.COM
                                                                       Apr 08 2021 00:38:00   Discover Bank, Discover Products Inc, PO Box
                                                                                              3025, New Albany, OH 43054-3025
515972886          EDI: IRS.COM
                                                                       Apr 08 2021 00:38:00   Internal Revenue Service, P. O. Box 7346,
                                                                                              Philadelphia, Pennsylvania 19101-7346
515972881          EDI: JPMORGANCHASE
                                                                       Apr 08 2021 00:38:00   Chase Bank/Slate Card, POB 15298, Wilmington,
                                                                                              Delaware 19850
515972887        + Email/Text: PBNCNotifications@peritusservices.com
                                                                       Apr 07 2021 21:18:00   Kohl's/Capone, POB 3115, Milwaukee, Wisconsin
                                                                                              53201-3115
515972888        + Email/Text: bmyers@membersonenj.org
                                                                       Apr 07 2021 21:19:00   Members 1st of NJ FCU, 37 W. Landis Ave,
                                                                                              Vineland, New Jersey 08360-8122
516006357          Email/Text: laura@redbanklaw.com
                                                                       Apr 07 2021 21:18:00   Members 1st of NJ Federal Credit Union, C/O
                                                                                              McKenna, DuPont, Higgins & Stone, PC, PO Box
                                                                                              610, Red Bank, NJ 07701-0610
516103502        + EDI: MID8.COM
                                                                       Apr 08 2021 00:38:00   Midland Funding LLC, PO Box 2011, Warren MI
                                                                                              48090-2011
516194599          EDI: PRA.COM
                                                                       Apr 08 2021 00:38:00   Portfolio Recovery Associates, LLC, c/o
                                                                                              Goodyear, POB 41067, Norfolk VA 23541
516196509          EDI: PRA.COM
                                                                       Apr 08 2021 00:38:00   Portfolio Recovery Associates, LLC, c/o Sears
                                                                                              Gold Mastercard, POB 41067, Norfolk VA 23541
516194597          EDI: PRA.COM
                                                                       Apr 08 2021 00:38:00   Portfolio Recovery Associates, LLC, c/o
                                                                                              Exxonmobil, POB 41067, Norfolk VA 23541
515972892          EDI: RMSC.COM
                                                                       Apr 08 2021 00:38:00   SYNCB/Home Design, ATTN: Bankruptcy Dept.,
                                                                                              POB 965061, Orlando, Florida 32896-5061
515972893          EDI: RMSC.COM
                                                                       Apr 08 2021 00:38:00   SYNCB/JC Penney, Attn: Bankrutpcy Dept., POB
                                                                                              965060, Orlando, Florida 32896-5060
515972894          EDI: RMSC.COM
                                                                       Apr 08 2021 00:38:00   SYNCB/Lowe's, ATTN: Bankruptcy Dept., POB
                                                                                              965060, Orlando, Florida 32896-5060
518054972        + Email/Text: bncmail@w-legal.com
                                                                       Apr 07 2021 21:20:00   SYNCHRONY BANK, c/o Weinstein & Riley,
                                                                                              P.S., 2001 Western Ave, Ste 400, Seattle, WA
                                                                                              98121, SYNCHRONY BANK, c/o Weinstein &
                                                                                              Riley, P.S. 98121-3132
518054971        + Email/Text: bncmail@w-legal.com
                                                                       Apr 07 2021 21:20:00   SYNCHRONY BANK, c/o Weinstein & Riley,
                                                                                              P.S., 2001 Western Ave, Ste 400, Seattle, WA
                                                                                              98121-3132
515972896        + Email/Text: usanj.njbankr@usdoj.gov
                                                                       Apr 07 2021 21:19:00   United States Attorney, Peter Rodino Federal
                                                                                              Building, 970 Broad Street, Suite 700, Newark,
                                                                                              New Jersey 07102-2527
515972898        + EDI: WFFC.COM
                                                                       Apr 08 2021 00:38:00   WFFNB/Furniture Barn, CSCL DSP TM MAC
                                                                                              N8235-04M, POB 14517, Des Moines, Iowa
       Case 16-11695-ABA                   Doc 47 Filed 04/09/21 Entered 04/10/21 00:24:30                                              Desc Imaged
                                                Certificate of Notice Page 5 of 5
District/off: 0312-1                                                 User: admin                                                                 Page 3 of 3
Date Rcvd: Apr 07, 2021                                              Form ID: 3180W                                                            Total Noticed: 46
                                                                                                                 50306-3517
515972897                 Email/PDF: DellBKNotifications@resurgent.com
                                                                                       Apr 07 2021 21:11:11      Webbank/Dell Financial Services, POB 81577,
                                                                                                                 Austin, Texas 78708-1577
516135718                 EDI: WFFC.COM
                                                                                       Apr 08 2021 00:38:00      Wells Fargo Bank NA, PO Box 10438, Des
                                                                                                                 Moines IA 50306-0438

TOTAL: 35


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
515994568                        Thunderbolt Area Federal Credit Union
515972877          *             Capital One Bank, POB 30285, Salt Lake City, Utah 84130-0285
515972889          *+            Members 1st of NJ FCU, 37 W. Landis Ave., Vineland, New Jersey 08360-8122

TOTAL: 1 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 09, 2021                                          Signature:            /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 7, 2021 at the address(es) listed below:
Name                              Email Address
Andrew M. Lubin
                                  on behalf of Creditor U.S. Bank National Association as Indenture Trustee for Towd Point Mortgage Trust Asset-Backed
                                  Securities, Series 2015-3 bkecf@milsteadlaw.com, alubin@milsteadlaw.com

Andrew M. Lubin
                                  on behalf of Creditor Select Portfolio Servicing Inc., as servicing agent for U.S. Bank National Association, as Indenture Trustee
                                  for Towd Point Mortgage Trust Asset-Backed Securities, Series 2015-3 bkecf@milsteadlaw.com, alubin@milsteadlaw.com

Isabel C. Balboa
                                  ecfmail@standingtrustee.com summarymail@standingtrustee.com

Isabel C. Balboa
                                  on behalf of Trustee Isabel C. Balboa ecfmail@standingtrustee.com summarymail@standingtrustee.com

Linda S. Fossi
                                  on behalf of Creditor Thunderbolt Area Federal Credit Union lfossi@zeitzlawfirm.com
                                  gzeitz@zeitzlawfirm.com;cdillon@zeitzlawfirm.com;rzeitz@zeitzlawfirm.com

Michael R. DuPont
                                  on behalf of Creditor Members 1st of NJ Federal Credit Union dupont@redbanklaw.com john@redbanklaw.com

Victor Druziako
                                  on behalf of Debtor Michael S. Romanik Sr. bkdruziako@aol.com

Victor Druziako
                                  on behalf of Joint Debtor Mary Jo Taylor-Romanik bkdruziako@aol.com


TOTAL: 8
